      Case:
       Case:4:18-cr-00899-RLW
              4:09-cr-0004L-ERWDoc.
                                Doc.#: #: L21, Filed:
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PROB I2AS
(1te3)


                        UNITED STATES DISTRICT COURT
                                                       for

                                          Eastern            of Missouri



                               Report on Offender Under Supervision


Name of Offender: Thomas Wilson, Jr                                            Case Number: 4:09CR00041 ERW


Name of Sentencing Judicial Officer: The Honorable E. Richard Webber
                                      Senior United States District Judge

Date of Original Sentence: October 2,2009

Original Offense: Unlawful Possession of a Prohibited Flask or Equipment With the Intent to Manufacture
                  Methamphetamine

Original Sentence: 69 months prison; 24 months supervised release

Type of Supervision: Term Of Supervised   Release                     Date Supervision Commenced: July 16,2013
                                                                                    Expiration Date: July 15, 2015



                                      SUPERVISION SUMMARY

This report is being submitted in regards to special conditions requiring Wilson to participate in substance abuse
and mental health treatment programs. Since commencement of his supervised release, Wilson has participated
in mental health counseling at Gateway Foundation. Reports from his counselor state that Wilson has made
steady progress towards his treatment goals and appears stable. In response to the undersigned officer's request,
the counselor stated he agreed with discharging Wilson from counseling at this time,

In regards to substance abuse treatment, Wilson successfully completed the 500 hour residential and transitional
substance abuse treatment program while incarcerated in the Bureau of Prisons. Since his release from the
Bureau of Prisons, V/ilson has submitted to two monthly drug tests without any positive results.
      Case:
       Case:4:18-cr-00899-RLW
             4:09-cr-0004L-ERWDoc.
                               Doc,#:#:
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       Report on Offender                                                                        Page 2
       Under Supervision



       RE          Thomas V/ilson, Jr,
                   4:09CR41 ERV/



RECOMMENDATION:

This officer respectfully recommends that Wilson's special conditions of substance abuse treatment and mental
health counseling be suspended at this time, but that he continue to submit to drug testing as directed.

                                                         Respectfu lly submitted,

                                               by



                                                         Timothy J. Goehring
                                                         U.S. Probation Officer

                                                         Date: December 3. 2013

Approved by:


            n ¿¡¡í*þ.       December 3,2013

Julie A.O'Keefe Date
Supervising U.S. Probation Officer



 X         Agree
           Note from Court: How many has he failed?
           Discharge from probation/supervised release
           Other




                                                         SIGNATURE OF ruDICIAL OFFICER

                                                         Dated: December 23, 201,3
